                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

 UNITED STATES OF AMERICA,                        )
                                                  )
               Plaintiff,                         )
                                                  )
 v.                                               )      No.:   3:13-CR-71-TAV-HBG-2
                                                  )
 ANGELA DENISE WHITE,                             )
                                                  )
               Defendant.                         )

                                          ORDER

        This criminal case is before the Court on the government’s Motion to Defer

 Ruling Upon § 3582(c) Motion to Permit Supplemental Briefing by Both Parties [Doc.

 285]. The defendant has filed a pro se motion pursuant to 18 U.S.C. § 3582, in which she

 seeks a reduction of her sentence as a result of Amendment 782 to the United States

 Sentencing Guidelines Manual. The government submits that the defendant appears

 eligible for the reduction, but that she will not be eligible for release within fifteen

 months of the filing of the motion to defer, even if granted the maximum reduction. As

 such, the government asserts that the defendant is not “deserving of priority treatment.”

        On November 1, 2014, the guideline amendment reducing by two levels the

 offense levels assigned to the quantities in sections 2D1.1 and 2D1.11 of the United

 States Sentencing Commission Guidelines Manual, designated as Amendment 782 in

 Appendix C, and made retroactive by Amendment 788 in Appendix C, became effective.

 In its August 8, 2014, Standing Order, SO-14-07, the Court recognized that a large




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 number of defendants may be affected by Amendment 782 and appointed the Federal

 Defender Services of Eastern Tennessee (“FDS”) to represent all defendants in this

 regard, unless a defendant has retained counsel or the previously appointed CJA attorney

 desires to represent the defendant. Under SO-14-07, the FDS is required to identify those

 defendants with a claim for Amendment 782 relief, and the Court encouraged the FDS,

 along with the Probation Office and the United States Attorney’s Office, to also

 “identify[] those cases deserving of priority treatment, i.e., those cases where a

 defendant’s release date is near.”

        Based upon the government’s motion it appears that this is not a case deserving of

 priority treatment, as the defendant’s release date would not be for at least one year from

 entry of this order. Thus, the Court finds good cause to defer ruling upon the § 3582

 motion so that the FDS may file a supplemental brief and the government may respond.

 The motion [Doc. 285] is therefore GRANTED. The FDS shall file a supplemental brief

 at least one hundred (100) days before the release date connected with the maximum

 potential reduction,1 and the government shall comply with SO-15-01 by responding

 within forty-five (45) days. The Clerk is DIRECTED to provide Elizabeth Ford, Federal

 Community Defender, with a copy of this order.

        IT IS SO ORDERED.


                                       s/ Thomas A. Varlan
                                       CHIEF UNITED STATES DISTRICT JUDGE
        1
           To the extent the defendant’s previously-appointed CJA panel attorney desires to
 represent the defendant in this regard, the Court’s directive that the FDS file a supplemental brief
 applies to the CJA panel attorney with equal force.
                                                  2



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